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                                                                               Pg 1 of 11
&BRi bMX%              gWeRe@BBll46&&+8e+§                                       QLk rf LO!! '%d E L+F6 ' Z+aB"1'          nO nat 6§ 'Lk      rF LQ!! . ya.aint     en
           in this tnfornlation to identify your case

       Debtor   1          Joel                       Darren                            Plasco
                           FbU Nemo                Mkldb Name                      a


      Debtor 2
      ( Spouse,if fIIIng) FIrst Name               Mkidlo Name                     L88t Name


      United States BankruptcyCourt for the:                     District of

      Case number          25-10684-jpm
       (if known)                                                                                                                         D Check if this is an
                                                                                                                                             amended filing




     Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                    04/25

    Be as complete and accurate as possIble. If two marrIed people are fIIIng together, both are equally responsIble for supplyIng correct
    InformatIon. If more space is needed, attach a separate sheet to thIs form. On the top of any addItIonal pages, wrIte your name and case
    number (if known). Answer every questIon.




      1. What is your current marItal status?

           d Married
           O Not married


      2. During the last 3 years, have you lived anywhere other than where you live now?
          d No
           [] Yes. List all of the places you lived in the last 3 years. DO not include where you live now.

                    Debtor 1 :                                                 Dates Debtor 1   Debtor 2:                                      Dates Debtor 2
                                                                               IIved there                                                     IIved there

                                                                                                O Same as Debtor 1                           O Same as Debtor 1

                                                                           From                                                                  From
                    Number             Street                                                       Number   Street
                                                                           To                                                                    To




                    City                        State ZIP Code                                      City               State ZIP Code

                                                                                                O   Same as Debtor 1                         D Same as Debtor   1




                                                                           From                                                                  From
                    Number             Street                                                       Number Street
                                                                           To                                                                    To




                    CIty                        State ZIP Code                                      City               State   ZIP Code


      3. WIthIn the last 8 years, dId you ever IIve wIth a spouse or legal equIvalent in a communIty property state or terrItory? (Community property
          states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           O No
           [] Yes. Make sure you fill out Schedule H.' Your Codebtors (Official Form 106H)




    m
   Official Form 107
                     ExplaIn the Sources of Your Income
                                                   Statement of FInancIal AffaIrs for IndIvIduals FIIIng for Bankruptcy                            page 1
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Debtor 1      Joel                              Darren                          Plasco
               FIrst Name    MIddle Name
                                                                                                               Case number (irb„„„) 25-10684-Jpm
                                                        Last Name




  4. DId you have any Income from employment or from operating a busIness durIng thIs year or the two prevIous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities
     If you an filing a joint case and you have income that you receive together, list it only once under Debtor 1 ,

     U No
     a yes. Fill in the details

                                                              Debtor I                                                  Debtor 2

                                                              Sources of Income                Gross Income             Sources of Income                  Gross Income
                                                              Check all that apply.            (before deductionsand    Check all that apply.              (before deductIons and
                                                                                               exclusIons)                                                 exclusions)

                                                              O Wages, commissions                                      D Wages, commissIons,
           From January 1 of current year until
                                                                bonuses, tips                  $

                                                                                                                            bonuses. tips                  $



           the date you fIled for bankruptcy:
                                                              O Operating a business                                    O Operating a business


           For last calendar year:                          O Wages, commissions                                        D Wages, commissions,
                                                              bonuses, tips                    $                            bonuses, tips                  $




           (January 1 to December 31,                    _> O Operating a business                                      O   Op9rating a busIness
                                           mY


           For the calendar year before that:               D Wages, commissions,                                       D Wages, commIssions,
                                                              bonuses, tipS                    n                            bonuses, tips
                                                                                                                                                       $



           (January 1 to December 31,                    _> O Operating a business             o-                       a   Operating a business
                                           WYY



 5. DId you receIve any other income during thIs year or the two prevIous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
    gambling and lottery winnings. If you are filing a joint case and you have income that you received together. list it only once under Debtor 1

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     & No
     a Yes. Fill in the details.
                                                              Debtor 1                                                   Debtor 2

                                                              Sources of Income                Gross Income from         Sources of Income             Gross Income from
                                                              Describe below.                  each source               Describe below.               each source
                                                                                               (before deductIons and                                  (before deductIons and
                                                                                               exclusions)                                             exclusions)



           From January 1 of current year untII                                            $
                                                                                                                                                   $




           the date you filed for bankruptcy:                                              $
                                                                                                                                                   $




                                                                                           $
                                                                                                                                                   $




           For last calendar year:                                                     $
                                                                                                                                                   $




           (January 1 to December 31,                                                  $
                                                                                                                                                   $

                                                    )
                                           YWY
                                                                                       $
                                                                                                                                                   $




           For the calendar year before that:                                          $
                                                                                                                                                   $




           (January 1 to December 31,               )                                  $
                                                                                                                                                   $



                                           YWY
                                                                                                                                                   $
                                                                                       $




Official Form 107                               Statement of FInancIal AffaIrs for IndIvIduals FIIIng for Bankruptcy                                                     page 2
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              Joel                                     Darren                   Plasco                    Case number Wk,DH,L 25- 10684-Ipm
               FIrst Name         MIddleName                Last Name




N                                                                                                  P t II y




    6. Are eIther Debtor 1 ’s or Debtor 2’s debts prImarIly consumer debts?

       a   No. NeIther Debtor 1 nor Debtor 2 has prImarIly consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
               'incurred by an individual primarily for a personal, family, or household purpose.-
               During the 90 days before you filed for bankruptcy. did you pay any creditor a total of $8,575' or more?

               O No. Go to line 7

               O Yes. List below each creditor to whom you paid a total of $8,575• or more in one or more payments and the
                      total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                      child support and alimony. Also, do not include payments to an attorney for this bankruptcy case
               - Subject to adjustment on 4/01/28 and every 3 years after that for cases filed on or after the date of adjustment.

       a Yes. Debtor 1 or Debtor 2 or both have prImarIly consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               O No. Go to line 7.

               a Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and
                             alimony. Also, do not include payments to an attorney for this bankruptcy case,

                                                                           Dates of      Total amount paId           Amount you stIll owe     Was thIs payment for. ..
                                                                           payment



                      Creditor's Nam8
                                                                                         $                       $

                                                                                                                                               D Mortgage
                                                                                                                                               D Car
                      Number Street                                                                                                            D Credit card
                                                                                                                                               D Loan repayment
                                                                                                                                               D Suppliers or vendors
                      CIty                     State            ZIP Code
                                                                                                                                               n Other

                                                                                         $                       $

                                                                                                                                               O Mortgage
                      CredItor's Name
                                                                                                                                               Q Car
                                                                                                                                               a Credit card
                      Number Street
                                                                                                                                               D Loan repayment
                                                                                                                                               D Suppliers or vendors
                                               State            ZIP Code
                                                                                                                                               D Other
                      CIty




                                                                                         $                       $
                                                                                                                                               O Mortgage
                      Creditor's Name
                                                                                                                                               D Car
                                                                                                                                               D Cr,dit c,rd
                      Mt lb8r    Street

                                                                                                                                               O Loan r8paym8nt
                                                                                                                                               O Suppliers or vendors

                                               State            ZIP Code
                                                                                                                                               D Other
                      CIty




Official Form 107                                      Statement of FInancIal AffaIrs for IndIvIduals FIIIng for Bankruptcy                               page 3
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                Joel                               Darren                  Plasco
                   FIrst Name     MIddleName            Last Name
                                                                                                       Case number Wk„,W.L 25-10684-Jpm




  7.   WIthIn 1 year before you fIled for bankruptcy, dId you make a payment on a debt you owed anyone who was an Insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control. or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U,S.C. § 101. Include payments for domestic support obIIgations,
       such as child support and alimony.

       d   No
       D Yes. List all payments to an insider.
                                                                       Dates of         Total amount        Amount you still   Reason for thIs payment
                                                                       payment          paid                owe


                                                                                    $                  $
            InsIder's Name



            Number Street




            CIty                                State   ZIP Cale



                                                                                    $                  $
            Insider'sName


            Number Street




            CIty                                State   ZIP Cale



 8. WithIn 1 year before you fIled for bankruptcy, dId you make any payments or transfer any property on account of a debt that benefited
       an InsIder?
       Include payments on debts guaranteed or cosigned by an insider.

       d No
       0 Yes. List all payments that benefited an insider
                                                                      Dates of          Total amount        Amount you stIll   Reason for thIs payment
                                                                      payment           paId                owe                Include creditor's name

                                                                                    $                   $



            InsIder's N8mo



            Number       Street




            CIty                                St8to   ZIP Code




                                                                                    $                   $
            InsIder's Name



            Number       Street




            CIty                                State   ZIP Code




Official Form 107                                  Statement of FinancIal AffaIrs for IndIvIduals FIling for Bankruptcy                                  page 4
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Debtor 1       Joel                                       Darren                        Plasco                   Case number tlr kn,w„b.   25-10684-jpm
                 FIrst Name            MIddle Name             Last N8mo




Ba             IdentIfy Legal A6tlonal R8possesslons' and Forecl08ur08
  9. WIthIn 1 year before you filed for bankruptcy, were you a party in any lawsuIt, court actIon, or admInIstratIve proceedIng?
     Ust all such matters. including personal injury cases, small claims actions, divorces, collection suIts, paternity actions, support or custody modifications,
     and contract disputes

     O No
     a     Yes. FIll in the details.

                                                                         Nature of the case                Court or agency                                       Status of the case



            Case title                                                                                    Court Name                                             D Pending
                                                                                                                                                                 O On appeal
                                                                                                          Number     Street                                      O Concluded
            Case number
                                                                                                          City                    State     ZIP Code




            Case title                                                                                    Court Name                                             O Pending
                                                                                                                                                                 O On appeal
                                                                                                          Numbor     Street                                      O Concluded
            Case number
                                                                                                          m                       State     ZIP Code



  10. WIthin 1 year before you fIled for bankruptcy, was any of your property repossessed, foreclo sod, garnlshed, attached, seIzed, or levIed?
     Check all that apply and fill in the details below.

     D No. Go to line 11
     a Yes. Fill in the information below.

                                                                                  DescrIbe the property                                      Date          Value of the property

                                                                                  Land Rover Range Rover
                 JP Morgan Chase Bank                                             a/c ending 9934                                            02/2025       $             65000
                 CredItor's Name


                 PO Box 182055
                 Number Street                                                    ExplaIn what happened

                                                                                  a Property was repossessed
                                                                                  0 Property was foreclosed.
                 Columbus                             OH        43218             0 Property was garnishod
                 City                                 State   ZIP Code            0 Property was attached, seized, or levied
                                                                                  DescrIbe the property                                      Date               Value of the propeR)



                                                                                                                                                            $




                 CredItorl6 Name



                 Number       Street
                                                                                  Explain what happened

                                                                                  a Property was repossessed     .

                                                                                  a Property was foreclosed.
                                                      State ZIP Code
                                                                                  D Property was garnish8d.
                 CIty
                                                                                  D Property was attached, seized, or levied.


Official Form 107                                        Statement of FInancial AffaIrs for IndIvIduals FIIIng for Bankruptcy                                           page 5
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Debtor 1          Joel                             Darren                        Plasco                   Case number jlrxrDM, I_   25-1 0684-Jpm
                   FIrst Name     MIddle N8mo            Last N8m8




 11. WIthin 90 days before you fIled for bankruptcy, dId any credItor, IncludIng a bank or fInancIal InstItutIon, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     a No
     O Yes. Fill in the details.

                                                                  DescrIbe the actIon the credItor took                               Date actIon          Amount
                                                                                                                                      was taken



                                                                                                                                                       $



           Number Street




                                          St't' 21P CQd'         Last 4 digits of account number: X XXX–_ _           _

 12. WIthIn 1 year before you fIled for bankruptcy, was any of your property in the possessIon of an asslgneo for the benefIt of
     credItors, a courtappolntod receIver, a custodIan, or another offIcIal?
     O No
     O Yes
u                                                            t I I) n s


 13. WIthIn 2 years before you fIled for bankruptcy, dId you gIve any gIfts wIth a total value of more than $600 per person?

     a No
     D Yes. Fill in the details for each gift.

               Gifts with a total value of more than $600        DescrIbe the gifts                                                   Dates you gave                Value
               per person                                                                                                             the gifts



                                                                                                                                                            $




           r

                                                                                                                                                            $




           Number       Street



                                          State   ZIP Code


           Person'srelationshipto you


           GIfts wIth a total value of more than $600             DescrIbe the gIfts                                                  Dates you gave                Value
           per person                                                                                                                 the gIfts


                                                                                                                                                                $




           r

                                                                                                                                                                $




           MmI)or       Street



           F                              State   ZIP Code


           Person's relationship to you



Official Form 107                                   Statement of FinancIal AffaIrs for IndIvIduals FIIIng for Bankruptcy                                                    page 6
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    Debtor   1           Joel                               Darren                         Plasco                      Case number (Ih,„„)      25-10684-jpm
                         FIrst Name      MIddle Name                Last Name




     r4. WIthIn 2 years before you fIled for bankruptcy, dId you gIve any gifts or contributions wIth a total value of more than $600 to any charIty?

         g N,
        O Yes. Fill in the details for each gift or contribution.

                   GIfts or contrIbutIons to charItIes                    DescrIbe what you contrIbuted                                          Date you          Value
                   that total more than 5600                                                                                                     contrIbuted



                                                                                                                                                                   $



                 CharIty's Name


                                                                                                                                                                   $




                 Number Street




                 City           State        ZIP Code




     15. WIthIn 1 year before you fIled for bankruptcy or sInce you fIled for bankruptcy, dId you lose anythIng because of theft, fIre, other
        disaster, or gambling?

        la No
        D yes. Fill in the details.

                  Describe the property you lost and                       Describe any Insurance coverage for the loss                          Date of your      Value of property
                  how the loss occurred                                                                                                          loss              lost
                                                                           Include the amount that Insurance has paid. LIst pending insurance
                                                                           claims on line 33 of Schedule A/B: Property.


                                                                                                                                                                       $




lin                     List Certain Payments or Transfers
     16. Within I year bob,e you fIled for bankruptcy1 dId you or anyone else actIng on your behalf pay Or ttansfe? any property tO anyone
        you consulted about seeking bankruptcy or preparIng a bankruptcy petItIon?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

        a No
        O yes. Fill in the details

                                                                           DescrIptIon and value of any property transferred                     Date payment or   Amount of payment
                                                                                                                                                 transfer was
I                 Person WIn Was Paid                                                                                                            made


I                 Number       Street                                                                                                                              $




k                                              State     ZIP Code
                                                                                                                                                                   $




                  CIty
i

                  EmaII or websIte address
i
                  Person Who Made the Payment, if Not You
i

Official Form 107                                          Statement of FInancIal Affairs for IndIvIduals FIIIng for Bankruptcy                                            page 7
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    Debtor 1           Joel                              Darren                         Plasco                     Case number Wk,y„.)_ 25-10684-Jpm
                       FIrst Name       MIddleName               Last Name




                                                                         DescrIption and value of any property transferred               Date payment or               Amount of
                                                                                                                                         transfer was made             payment

I
                Person Who Was Paid

                                                                                                                                                                   $




                Number       Street

                                                                                                                                                                   $




                CIty                        State     ZIP Code
;




                Email or websIte address

                                                                                                                                                                                        ;




                Person Who Made the Paym8nt, if Not You



     17. WIthIn 1 year before you fIled for bankruptcy, dId you or anyone else actIng on your behalf pay or transfer any property to anyone who
         promIsed to help you deal wIth your credItors or to make payments to your credItors?
         Do not include any payment or transfer that you listed on line 16

        U No
         O yes. Fill in the details

                                                                        DescrIptIon and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                         transfer was
                                                                                                                                         made
                Person Who Was Paid


                                                                                                                                                               $


                Number       Street


I                                                                                                                                                              $


i

E               CIty                         State    ZIP Code

     18. WIthIn 2 years before you fIled for bankruptcy, dId you sell, trade, or otherwIse transfer any property to anyone, other than property
        transferred in the ordInary course of your busIness or fInancial affaIrs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property)
        Do not include gifts and transfers that you have already listed on this statement.
               No
        a Yes. Fill in the details
                                                                        DescrIptIon and value of property         DescrIbe any property or payments receIved            Date transfer
                                                                        transferred                               or debts paId in exchange                             was made

               Person Who ReceIved Transfer



               Number       Street




               CIty                         State    ZIP Code


               Person'srelationshipto you


               8            o ReceIved Transfer



               Number       Street




                                            State    ZIP Code

               Person's relationship to you

Official Form 107                                       Statement of FInancIal AffaIrs for IndIvIduals FIIIng for Bankruptcy                                               page 8
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                 Joel                                  Darren                            Plasco                  Case number Wk„,w„) 25-10684-J      pm
                     FIrst Name      MIddle Name               Last Name




      19. WIthIn 10 years before you filed for bankruptcy, dId you transfer any property to a self.settled trust or simIlar device of whIch you
         are a benefIciary? (These are often called asset-protectiondevices.)
         a No
         O yes. Fill in the details,

                                                                       DescrIptIon and value of the property transferred                                        Date transfer
                                                                                                                                                                was made



             Name of trust




                IIst Gertnln Flnanolal Aeeeunbrb In©truM8,                                8a$•           Bex=v • nd 8banl8e UnIB•
     20. WithIn I year before you filed for bankruptcy, were any fInancIal accounts or Instruments held in your name, or for your benefIt,
         closed, sold, moved, or transferred?
         Include checkIng, savIngs, money market, or other fInancIal accounts; certIfIcates of deposIt; shares in banks, credit unIons,
         brokerage houses, pension funds, cooperatIves, assocIatIons, and other fInancIal InstItutIons.
         D No
         a   Yes. FIll in the details.
!




                                                                       Last 4 dIgIts of account number     Type of account or        Date account was       Last balance before    I
                                                                                                           Instrument                closed, sold, moved,   closIng or transfer
                                                                                                                                     or transferred
              HSBC NA
E             Name of FInancIal In8tltutlon
                                                                       Hm_ 3541                            a Che,ki„g                02/2025                s          -1 0000

              Number Street                                                                                [] SavIngs
                                                                                                           O Money market
                                                                                                           O Brokerage
              CIty                       State      ZIP Code                                               D Other
iI
                                                                       XXXX-                               a CheckIng                                       $




I             Nam8 of FInancIal InstItutIon
                                                                                                           a Savings
              Number Street                                                                                O Money market
                                                                                                           a Brokerage
                                                                                                           O Other
              CIty                       State      ZIP Code


     21. Do you now have, or dId you have wIthIn 1 year before you fIled for bankruptcy, any safe deposit box or other deposItory for
         securItIes, cash, or other valuables?
         B No
         a   Yes. FIll in the details,
                                                                       Who else had access to it?                      DescrIbe the contents                        Do you still
                                                                                                                                                                    have it?

                                                                                                                                                                    O No
              Name of FInancIal InstItutIon                           Name
                                                                                                                                                                    a Yes
              Number Street                                           Number Str6et


                                                                      CIty       State      ZIP Code

              CIty                       State      ZIP Code



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    Debtor 1          Joel                               Darren                          Plasco                        Case number (#k.,H,L   25-10684-Ipm
                        FIrst Name     MIddle Name               Last Name




    ia
    22. Have you stored property in a storage unIt or place other than your home wIthIn 1 year before you fIled for bankruptcy?


          a
               No
               Yes. FIll in the detaIls.
                                                                        Who else has or had access to It?                   DescrIbe the contents                  Do you stIll
                                                                                                                                                                   have It?
                                                                                                                           summer sports equipment and
                Extra Space Storage                                                                                        kitchen items                            D No
                 Name of Storage FacIIIty                               Name
                                                                                                                                                                    a Yes
    I           99 Mariner Drive
                 Number Street                                          Number Street

                                                                                                            11968
                                                                        CltyStat8 ZIP Code
                Southampton                  NY        11968
                 CIty                        State    ZIP Code



                          IdrllyPunrrtvYeu                Held w GefrbqHg8r aonb•on•El••
        23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storIng for,
          or hold in trust for someone.
          U No
          a Yes. FIll in the details.
;




                                                                       Where is the property?                               DescrIbe the property             Value
!



I
                Ownor'8 Name                                                                                                                                  $




I
                                                                      Number   Street
                 Number       Street


i                                                                     CIty                        Stat8     ZIP Code
                CIty                         State    ZIP Code



    Ba                   Olv• Detall© About Envlronrnerrt•l ingellnalle}II

    For the purpose of Part IO, the followIng defInItIons apply
    []    EnvIronmental law means any federal, state, or local statute or regulation concernIng pollutIon, contamInatIon, releases of
          hazardous or toxIc substances, wastes, or materIal Into the aIr, land, soil, surface water, groundwater, or other medIum,
          IncludIng statutes or regulatIons controlIIng the cleanup of these substances, wastes, or materIal.
    [] SIte means any locatIon, facIIIty, or property as defIned under any envIronmental law, whether you now own, operate, or
          utiIIze it or used to own, operate, or utIIIze it, IncludIng dIsposal sItes.
    [] Hazardous materIal means anything an envIronmental law defInes as a hazardous WaStB1 hazardOUS substance, toxIc
          substance, hazardous materIal, pollutant, contamInant, or sImIlar term.
    Report all notices, releases, and proceedIngs that you know about, regardless of when they occurred.

    24. Has any governmental unit notIfIed you that you may be IIable or potentIally liable under or in vIolatIon of an envIronmental law?


          d No
          D yes. Fill in the detaIls.
                                                                       Governmental unIt                        EnvIronmental law, if you know it            Date of notIce



               Name of 8lto                                           GovernmentalunIt


               Number Str80t                                          Number Street


                                                                      CIty               State   ZIP Code



               CIty                         State    ZIP Code




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       Debtor   1       Joel                            Darren                            Plasco
                            r                                   Last Name                                             Case number (lrh,..) 25-10684-j        pm




         25. Have you notIfied any governmental unIt of any release of hazardous material?

            U No
            a Yes. FIll in the detaIls.
                                                                       Governmental unIt                         EnvIronmental law, if you know it                   Date of notIce



                     Name of 8lte                                     Governmental unIt

                                                                                                                                                                                       i
                     Number Str8et                                                                                                                                                     I

                                                                                                                                                                                       I

                                                                     CIty                 State ZIP Code

                     CIty                   State    ZIP Code


        26. Have you been a party in any JudIcIal or adminIstratIve proceedIng under any envIronmental law? Include settlements and orders.

            a No
            a Yes. FIll in the detaIls.
                                                                                                                                                                      Status of the
                                                                        Court or agency                               Nature of the case
                                                                                                                                                                      case

                    Case title
                                                                        Court Name
                                                                                                                                                                      Q PendIng
                                                                                                                                                                      a    On appeal
                                                                        Number Street                                                                                 a Concluded
                    Case number                                         CIty                  State   ZIP Code



                                aIn Deenll• Aboue Yeur Bu•ln•w or eenn•eraegn te Any Bu•ln•8•
        27. WIthIn 4 years before you filed for bankruptcy, did you own a busIness or have any of the following connectIons to any busIness?
                    D A sole proprIetor or self employed in a trade, professIon, or other actIvIty, eIther full-tIme or part-tIme
                    g A member of a IImIted IIabIIIty company (LLC) or IImIted IIabIIIty partnershIp [LLP)
                    O A partner in a partnershIP
                    Q An officer, dIrector, or managIng executIve of a corporatIon
                    O An owner of at least 5% of the voting or equIty securItIes of a corporatIon

            a No. None of the above applies. Go to Part 12.
            a Yes. check all that apply above and fIll in the detaIls below for each busIness.
                                                                        Describe the nature of the busIness                         Employer IdentIfIcatIon number
                     Odyssey Engines LLC                                                                                            Do not Include SocIal SecurIty number or ITIN.
                     Bu8ln8•• Name
                                                                       Aircraft engine repair and leasing -
                     8050 NW 90th Street                               multiple subsidiaries and related entities                   EIN: 2 7 _1 LL4                       91L
                     Number Street
                                                                        Name of accountant or bookkeeper                            Dates busIness exIsted

                                                                       Elliot Davis Decosimo
                                            FL       33166                                                                          From2005            To 2021
                     Medley
                     CIty                   State    ZIP Code
   i                                                                    DescrIbe the nature of the busIness                         Employer Identification number
                                                                                                                                    Do not Include SocIal SecurIty number or ITIN.
   ;
                     Bu8ln888 Name



                     Number Street
                                                                        Name of accountant or bookkeeper                            Dates busIness oxlst8d



   i                 CIty                   State    ZIP Code
                                                                                                                                    From                To
   I
       Official Form 107                               Statement of FInancIal AffaIrs for Individuals FiIIng for Bankruptcy                                               page 11
